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 November 30, 2018



The Honorable Nancy E. Brasel
United States District Court
348 Federal Building
316 North Robert Street
St. Paul, MN 55101

RE:    Colquitt v. Dominium Management Services
       Case No.18-cv-03038 (NEB/DTS)

Dear Judge Brasel:

The parties are actively negotiating a settlement of this case. We request that the Court defer
issuing a decision on the pending motion until further notice from the parties.

We were advised by chambers to file this letter by ECF, and thus, we are doing so.

We thank the Court for its consideration.

Very truly yours,


/s/ Jeffer Ali                                                    /s/ Christopher Kalla
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